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 1                                                               THE HONORABLE JOHN H. CHUN

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 6                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8
      FEDERAL TRADE COMMISSION, et al.,                         CASE NO.: 2:23-cv-01495-JHC
 9
                        Plaintiffs,                                DECLARATION OF
10                                                                 THOMAS J. MILLER IN
                   v.                                              SUPPORT OF LCR 37 JOINT
11                                                                 MOTION REGARDING
      AMAZON.COM, INC., a corporation,                             REMOTE DEPOSITIONS
12                      Defendant.
13

14 I, Thomas J. Miller, declare as follows:

15          1.      I am an Attorney in the Federal Trade Commission’s (“FTC”) Bureau of

16 Competition, and I represent the FTC in the above-captioned action. I am over eighteen years of

17 age and am competent to testify to the matters set forth in this declaration. I make the following

18 statements based on my personal knowledge.

19          2.      I certify that Plaintiffs conferred in good faith with counsel for Amazon in an effort

20 to resolve the parties’ dispute without Court action, as discussed in greater detail below. The parties

21 have reached an impasse.

22

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24
      DECL. OF THOMAS J. MILLER ISO LCR 37 JOINT MOTION                FEDERAL TRADE COMMISSION
      REGARDING REMOTE DEPOSITIONS                                         600 Pennsylvania Avenue, NW
      CASE NO. 2:23-cv-01495-JHC                                                  Washington, DC 20580
                                                                                         (202) 326-2222
           Case 2:23-cv-01495-JHC         Document 315        Filed 10/25/24      Page 2 of 3




 1         3.      Counsel for Plaintiffs and counsel for Amazon have met and conferred, both by

 2 letter exchanges and through a telephonic meet and confer, regarding Plaintiffs’ proposed remote

 3 deposition protocol.

 4         4.      The written exchanges and telephonic meet and confer related to the remote

 5 deposition protocol occurred on the following dates: September 19, 2024; September 23, 2024;

 6 September 30, 2024; October 1, 2024; October 7, 2024; and October 11, 2024.

 7         5.      During the telephonic meet and confer on the remote deposition protocol on

 8 October 1, 2024, the FTC was represented by Edward H. Takashima, Colin Herd, and Thomas J.

 9 Miller; and Amazon was represented by Kevin Hodges and Andrew Lemens, among others.

10         6.      Attached as Exhibit A is Plaintiffs’ Proposed Order Regarding Remote

11 Depositions.

12         7.      Attached as Exhibit B is a true and correct copy of Amazon’s Proposed Order

13 Regarding Remote Depositions, which Amazon’s counsel provided to Plaintiffs’ counsel on

14 October 22, 2024 for submission with this joint motion.

15         8.      Attached as Exhibit C is a redline comparison between Plaintiffs’ proposal (Exhibit

16 A) and Amazon’s proposal (Exhibit B).

17         9.      Attached as Exhibit D is a true and correct copy of a September 30, 2024 email

18 from Andrew Lemens, counsel for Amazon, to Edward H. Takashima, counsel for the FTC.

19 Exhibit D does not include the attachments to the email.

20         10.     I understand from attorneys representing the Federal Trade Commission in FTC v.

21 Amazon.com, et al., No. 2:23-cv-0932-JHC (W.D. Wash.) that only six third-party witnesses (other

22 than former Amazon employees) have been noticed for depositions in that case. I also understand

23 that Amazon has noticed the depositions of those witnesses as remote depositions.

24
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 1        I declare under penalty of perjury that the foregoing is true and correct.

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 3        Executed on October 25, 2024, in Philadelphia, PA.

 4                                                          s/ Thomas J. Miller
                                                            Thomas J. Miller
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